EXHIBIT 1

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09-20-2018
Clerk of Court
Shawano Co., Wi

STATE OF WISCONSIN - CIRCUIT COURT - SHAWANO COUNTY 2018C'V000202
Honorable William F.

JESSICA L. GAUTHIER Case No. 18CV____ eee

N5438 COUNTY ROAD AA Code No. 30107 Branch 2

SURING, WI 54174 Personal Injury

Plaintiff,
-and-

 

 

WISCONSIN DEPARTMENT OF HEALTH SERVICES
OFFICE OF LEGAL COUNSEL
1 W. WILSON STREET, RM 651
MADISON, WI 53707
Subrogated Plaintiff,

-VS-

THE COCA-COLA COMPANY
1 COCA COLA PLAZA N.W.
ATLANTA, GA 30313

-and-

WAL-MART STORES, INC,
702 SW 8™ STREET
BENTONVILLE, AK 72716
Defendants.

 

COMPLAINT

 

NOW COMES the above named plaintiff, Jessica L. Gauthier, by her attorney, Gary S. Cirilli of Cirilli

Law Offices, §.C., as and for her cause of action against the above named defendants, alleges and shows to the

Court as follows:
1. That the plaintiff, Jessica L. Gauthier, is an adult and currently resides at N5438 County
Road AA, Suring, WI 54174.

2. That the subrogated plaintiff, Wisconsin Department of Health Services, upon
information and belicf, is a Wisconsin organization, duly organized under the laws of the State of
Wisconsin, with its principal place of business located at 1 W. Wilson Street, Room 651, P.O. Box 7850,

Prepared by:

Atty. Gary S. Cirilli, State Bar #1000633

Cirilli Law Offices, S.C.

116 E. Davenport Strect, Rhinclander WI 54501
(718) 369-3443

(715) 369-9137 - facsimile

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Madison, WI 53707. That at all times material hereto, said subrogated plaintiff paid or caused to be paid
certain healthcare charges on behalf of the plaintiff, Jessica L. Gauthier, and as such, is a subrogated
party under the laws of the State of Wisconsin.

3. That the defendant, The Coca-Cola Company, is a corporation doing business under and
consistent with the laws of the State of Wisconsin, with its principal place of business located at 1 Coca
Cola Plaza N.W., Atlanta, GA 30313.

. 4, That the defendant, Wal-Mart Stores, Inc., is a corporation doing business pursuant to
and consistent with the laws of the State of Wisconsin, with its principal place of business located at 702
sw gs" Street, Bentonville, AK 72716.

FIRST CAUSE OF ACTION OF PLAINTIFF, JESSICA L. GAUTHIER,
AGAINST ALL NAMED DEFENDANTS

5. That the plaintiff realleges and incorporates herein and by reference, as if more fully set
forth in full, the fore-going paragraphs of this complaint.

6. That on or about September 22, 2015 at approximately 10:30 a.m., the plaintiff, Jessica L.
Gauthier, was a customer at Wal-Mart Store #2271 located in Shawano County, Shawano, Wisconsin.

7. That as the plaintiff was checking out at register number 13, the plaintiff went back to get
another item to purchasc. As she was passing in front of the register, she slipped and fell on an
accumulation of water that had Jeaked out of a Coca-Cola cooler that was being utilized by the
defendant for the sale of Coca-Cola products.

8. That the plaintiff slipped on the water and fell to the ground within the Wal-Mart Store
#2271, causing severe injuries to her physical person.

9. That the defendant, The Coca-Cola Company, owed a duty to maintain and inspect its
beverage cooler so that said beverage cooler would operate in a safe manner which would not create a
dangerous condition to any person, and particularly to the plaintiff named herein.

10. —‘ That the defendant, The Coca-Cola Company, by failing to maintain said beverage cooler
in a safe condition, breached the duty owed to the plaintiff named herein.

11. That as a direct and proximate result of the negligence of the defendant, The Coca-Cola
Company, the plaintiff has suffered serious personal injuries, including physical injury to her neck, back
and arms, the result of which has caused past pain and suffering, past medical expenses and past wage
loss, and upon information and belief, said injury may be permanent in nature requiring future medical
expense, future loss of earning capacity, future pain and suffering and the loss of the ability to lead a
normal, healthy and productive life.

12. That the defendant, The Coca-Cola Company, upon information and belief is a self-
insured entity providing liability coverage as part and parcel of its corporate structure.

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13 That the defendant, Wal-Mart Stores, Inc., contracted with the codefendant, The Coca-
Cola Company, for the installation of a Coca-Cola beverage cooler to be utilized and placed inside of the
Wal-Mart Store #2271 located at 1244 East Green Bay Strect, Shawano, WI! 54166, and same was in use

there on September 22, 2015.

14.‘ That at the time and place of said accident, the defendant, Wal-Mart Stores, Inc., owed a
duty to maintain a safe shopping facility and further had a duty to inspect and warn or make safe any
dangerous condition that was in existence within the Wal-Mart Store #2271 property.

15. That by failing to warm or make safe the dangerous condition, the defendant, Wal-Mart
Stores, Inc., breached the duty owed to the plaintiff, Jessica L. Gauthier, and as such, said breach was
the cause of the injurics and damages sustained by the plaintiff and set forth herein.

16. ‘That as direct and proximate result of the negligence of the above named defendant, Wal-
Mart Stores, Inc., the plaintiff has suffered scrious personal injuries, including physical injury to her
neck, back and arms, the result of which has caused past pain and suffering, past medical expenses and
past wage loss, and upon information and belief, said injury may be permanent in nature requiring future
medical expense, future loss of earning capacity, future pain and suffering and the loss of the ability to
lead a normal, healthy and productive life.

WHEREFORE, the plaintiff, JESSICA L. GAUTHIER, demands the following relief:

a) For money damages in an amount to be determined against said named
defendants, jointly and separately, to compensate the plaintiff for her personal
injuries, disability, past and future medical bills, past and future lost earnings, and
past, present and future pain and suffering;

b) For the plaintiff's costs and disbursements of this action;

c)} For such other relief as the Court deems equitable and just.

Dated this 20" day of September, 2018.

CIRILLI LAW OFFICES, S.C.
Attorneys for Plaintiff

Gary S. Cirilli
WI State Bar No. 1000633
gary@cirillilaw.com

Electronically signed by:

Prepared by:

Atty. Gary S. Cirilli, State Bar #1000633

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” STATE OF WISCONSIN - CIRCUIT COURT - SHAWANO COUNTY 09-20-2018
Clerk of Court
JESSICA L. GAUTHIER Case No. 18 CV Shawano Co., WI
N5438 COUNTY ROAD AA Code No. 30107 2016CVv000202
SURING, WI 54174 Personal Injury Honorable Willlam F.
Kussel Jr.
Plaintiff, Branch 2
-and-
WISCONSIN DEPARTMENT OF HEALTH SERVICES
OFFICE OF LEGAL COUNSEL

 

 

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-and-

WAL-MART STORES, INC.

702 SW 8™ STREET

BENTONVILLE, AK 72716 of
Defendants.

 

DEMAND FOR JURY TRIAL

 

The plaintiff, Jessica L. Gauthier, by her attomey, Gary S. Cirilli of Cirilli Law Offices, S.C., hereby requests that

the above matter be heard before a twelve (12) person jury.

Dated this 20th day of September, 2018.

CIRILLI LAW OFFICES, S.C.
Attomeys for Plaintiff

Electronically signed by: Gary S. Cinilli
; WI State Bar No. 1000633
gary@cirillilaw.com

Prepared by:

Atty. Gary S. Cirilli, State Bar #1000633

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STATE OF WISCONSIN CIRCUIT COURT SHAWANO COUNTY vagal

JESSICA L. GAUTHIER vs. THE COCA-COLA COMPANY Electronic Filing a

t al :

™ Notice 2018CV000202
Case No. 2018CV000202 Honorable William F.
Class Code: Other-Personal Injury Kussel Jr.

Branch 2

 

WAL-MART STORES, INC.
702 SW 8TH STREET
BENTONVILLE AR 72716

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- 2 Shawano County Circuit Court
fh : Date:
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GF-180(CCAP), 68/2017 Electronic Filing Notice

§801.18(5)(d), Wiscansin Statutes
This form shall not be modified. & may be supplemented with additiona! material.

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